           Case 3:21-cr-00046-MMD-WGC Document 17 Filed 11/22/21 Page 1 of 6




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 6
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 7
                                       UNITED STATES DISTRICT COURT
 8
                                           DISTRICT OF NEVADA
 9
     UNITED STATES OF AMERICA,                       Case No.: 3:21-cr-00046-MMD-WGC
10
            Plaintiff,
11                                                   Joint Motion for Protective Order
            vs.
12
     JAMES PATRICK BURNS,
13
            Defendant.
14

15

16          COMES NOW the United States of America, by and through CHRISTOPHER CHIOU,

17   Acting United States Attorney, and ANDOLYN JOHNSON, Assistant United States Attorney,

18   and CHRISTOPHER FREY and KATE BERRY, counsel for defendant James Patrick Burns, and

19   hereby stipulate and jointly request the Court to enter the attached proposed protective order

20   pursuant to Federal Rule of Criminal Procedure 16(d).

21          The discovery materials to be provided by the government contain files as well as video and

22   audio recordings which contain identifying information of minor victims in this matter

23   (hereinafter the “protected information”). The protected information cannot be easily redacted.

24   Given the nature of the information, the parties agree that there is good cause to enter the

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          Case 3:21-cr-00046-MMD-WGC Document 17 Filed 11/22/21 Page 2 of 6




 1   protective order to allow the defendant to fully evaluate this information while also protecting the

 2   minor victims.

 3          The “defense team” in this matter includes only the defendant, counsel of record for the

 4   defendant, defense experts, and employees of the Federal Public Defenders’ Office who are

 5   working on this case. The term “defense team” does not include any person or entity not

 6   specifically identified herein, and thus does not include any of the defendant’s family members or

 7   any other associates of the defendant.

 8          The parties respectfully request that the Court order that the “defense team” shall not:

 9             a. leave or provide copies of the protected information with the defendant James

10                 Patrick Burns, who is detained pending trial;

11             b. allow the defendant to view the protected information outside the presence of a

12                 member of the defense team;

13             c. make copies of the protected information or allow copies of any kind to be made for

14                 any other person;

15             d. allow any other person to view, hear or read the protected information;

16             e. divulge to any other person the contents of the protected information;

17             f. use the protected information for any purpose other than preparing to defend

18                 against the charges in the indictment or any further superseding indictment arising

19                 out of this case.

20          Defendant’s counsel of record agrees to advise all members of the defense team of their

21   obligations under the Protective Order and ensure their agreement to follow the Protective Order

22   prior to providing members of the defense team with access to any materials subject to the

23   Protective Order. In particular, defense counsel agrees to instruct the defendant James Patrick

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           Case 3:21-cr-00046-MMD-WGC Document 17 Filed 11/22/21 Page 3 of 6




 1   Burns that he shall not divulge the protected information to any other person and that doing so

 2   would constitute a violation of a Court Order.

 3            The government will identify any discovery produced under the Court’s Protective Order

 4   by labeling the CD or document “Confidential – Subject to Protective Order.”

 5            The parties agree that the Protective Order does not constitute a ruling on the question of

 6   whether any particular material is properly discoverable or admissible and does not constitute any

 7   ruling on any potential objection to the admissibility of any material.

 8            Finally, upon conclusion of this action, the defendant’s counsel agrees to return the

 9   protected information to the United States or destroy and certify to government counsel the

10   destruction of the protected information, within a reasonable time, not to exceed thirty days after

11   the last appeal is final.

12            Accordingly, the parties jointly request the Court to enter the attached proposed protective

13   order.

14   IT IS SO STIPULATED.

15   Dated: November 17, 2021                                Respectfully Submitted,

                                                             CHRISTOPHER CHIOU
16
                                                             Acting United States Attorney
17
                                                             /s/ Andolyn Johnson
18                                                           ANDOLYN JOHNSON
                                                             Assistant United States Attorney
19

20
                                                             /s/ Christopher Frey
21                                                           CHRISTOPHER FREY
                                                             KATE BERRY
22                                                           Attorneys for Defendant
                                                             JAMES PATRICK BURNS
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           Case 3:21-cr-00046-MMD-WGC Document 17 Filed 11/22/21 Page 4 of 6




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 3                                 UNITED STATES DISTRICT COURT

 4                                        DISTRICT OF NEVADA

 5   UNITED STATES OF AMERICA,                            Case No.: 3:21-cr-00046-MMD-WGC

 6          Plaintiff,
                                                          Protective Order
 7          vs.

 8   JAMES PATRICK BURNS,

 9          Defendant.

10

11                The Court has read and considered the Joint Motion for Protective Order restricting

12   the use and dissemination of files containing identifying information of minor victims in this

13   matter (hereinafter the “protected information”), filed by the government and the defendant

14   James Patrick Burns, and the Court hereby ORDERS as follows:

15          1.       The Court finds that there is good cause to enter this Protective Order to allow the

16   defendant to fully evaluate the protected information while also protecting the minor victims.

17   Therefore, the United States may produce the protected information to the defendant’s counsel

18   subject to the conditions set forth in this Order.

19          2.       For purposes of the Protective Order, the term “defense team” refers to the defendant,

20   counsel of record for the defendant, defense experts, and employees of the Federal Public Defenders’

21   Office who work on this case. The term “defense team” does not include any other person or entity,

22   and thus does not include the defendant’s family members or any other associates of the defendant.

23          3.       The defense team shall not:

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          Case 3:21-cr-00046-MMD-WGC Document 17 Filed 11/22/21 Page 5 of 6




 1               a. leave or provide copies of the protected information with the defendant James

 2                  Patrick Burns, who is detained pending trial;

 3               b. allow the defendant to view the protected information outside the presence of a

 4                  member of the defense team;

 5               c. make copies of the protected information or allow copies of any kind to be made for

 6                  any other person;

 7               d. allow any other person to view, hear or read the protected information;

 8               e. divulge to any other person the contents of the protected information;

 9               f. use the protected information for any purpose other than preparing to defend

10                  against the charges in the indictment or any further superseding indictment arising

11                  out of this case.

12          4.      Defendant’s counsel shall advise all members of the defense team of their

13   obligations under the Protective Order and ensure their agreement to follow the Protective Order

14   prior to providing members of the defense team with access to the protected information.

15   Defendant’s counsel shall instruct the defendant James Patrick Burns that he shall not divulge the

16   protected information to any other person and that doing so would constitute a violation of a

17   Court Order.

18          5.      The government will identify any discovery produced under the Court’s Protective

19   Order by labeling the CD or document “Confidential – Subject to Protective Order.”

20          6.      This Order does not constitute a ruling on the question of whether any particular

21   material is properly discoverable or admissible and does not constitute any ruling on any potential

22   objection to the admissibility of any material.

23   /

24   /

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           Case 3:21-cr-00046-MMD-WGC Document 17 Filed 11/22/21 Page 6 of 6




 1          7.      Finally, the Court orders that upon conclusion of this action, defendant’s attorney

 2   shall return the protected information to the United States or destroy and certify to government

 3   counsel the destruction of the protected information, within a reasonable time, not to exceed thirty

 4   days after the last appeal is final.

 5   IT IS SO ORDERED.

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 7      11/22/2021

 8    DATE                                         HONORABLE MIRANDA M. DU
                                                   UNITED STATES DISTRICT JUDGE
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